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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION


 HINES INTERESTS LIMITED PARTNERSHIP, a
 Texas limited partnership; URBAN OAKS
 BUILDERS, LLC, a Delaware limited liability
 company; 1662 MULTIFAMILY LLC, a Delaware
 limited liability company; HINES 1662
 MULTIFAMILY, LLC, a Delaware limited liability
 company; HINES INVESTMENT MANAGEMENT
 HOLDINGS LIMITED PARTNERSHIP, a Texas
 limited partnership; HIMH GP, LLC, a Delaware
 limited liability company; HINES REAL ESTATE
 HOLDINGS LIMITED PARTNERSHIP, a Texas
 limited partnership; JCH INVESTMENTS, Inc., a
 Texas corporation;

       Plaintiffs,                                 CASE NO. 6:18-cv-1147-ACC-DCI
 v.

 SOUTHSTAR CAPITAL GROUP I, LLC, a Florida
 limited liability company; COTTINGTON ROAD
 TIC, LLC, a Delaware limited liability company;
 DURBAN ROAD TIC, LLC, a Delaware limited
 liability company; COLLIS ROOFING, INC., a
 Florida corporation; DA PAU ENTERPRISES,
 INC., a Florida corporation; FLORIDA
 CONSTRUCTION SERVICES, INC., a Florida
 corporation; STRUCTURAL CONTRACTORS
 SOUTH, INC., a Florida corporation;
 NAVIGATORS SPECIALTY INSURANCE
 COMPANY, a New York corporation; GEMINI
 INSURANCE COMPANY, a Delaware
 corporation; and IRONSHORE SPECIALTY
 INSURANCE COMPANY, an Arizona
 corporation,

      Defendants.
 _______________________________________/




                     NOTICE OF PENDENCY OF RELATED ACTIONS
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        In accordance with Local Rule 1.04, I certify that the instant action:
    X          IS related to pending or closed civil or criminal case(s) previously filed in
               this Court, or any other Federal or State court, or administrative agency
               as indicated below:
               Southstar Capital Group, I, LLC, et al. v. 1662 Multifamily LLC, et al.
               Pending in the Ninth Judicial Circuit, Osceola County, Florida, Case No.
               2018-CA-415

_____          IS NOT related to any pending or closed civil or criminal case filed with
               this Court, or any other Federal or State court, or administrative agency.


     I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER
ACTIONS upon each party.
                                                  Respectfully Submitted,
                                                  /s/ Mark A. Boyle
                                                  Mark A. Boyle
                                                  Florida Bar No. 0005886
                                                  Molly Chafe Brockmeyer
                                                  Florida Bar No. 0105798
                                                  Justin M. Thomas
                                                  Florida Bar No. 89405
                                                  Boyle & Leonard, P.A.
                                                  2050 McGregor Blvd.
                                                  Fort Myers, Florida 33901
                                                  (239) 337-1303
                                                  (239) 337-7674 – Facsimile
                                                  eservice@insurance-counsel.com
                                                  mboyle@insurance-counsel.com
                                                  mbrockmeyer@insurance-counsel.com
                                                  jthomas@insurance-counsel.com




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                             CERTIFICATE OF SERVICE

      I CERTIFY that on August 8, 2018, I electronically filed this document using the

CM/ECF system, which will automatically serve the parties to this action. I am unaware

of any non-CM/ECF participants in this lawsuit.


                                                  /s/ Mark A. Boyle
                                                  Mark A. Boyle
                                                  Florida Bar No. 0005886




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